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                     EXHIBIT B
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           31 March 2025


           Alan Garber
           President, Harvard University
           president@harvard.edu

           Danielle Elisabeth Hoekstra
           Dean of the Faculty of Arts and Sciences
           Harvard University
           fasdean@fas.harvard.edu

           David Cutler
           Interim Dean of Social Science
           Harvard University
           socialscidean@fas.harvard.edu

           Dear President Garber, Dean Hoekstra and Dean Cutler:

           We write on behalf of the Middle East Studies Association of
           North America (MESA) and its Committee on Academic Freedom
           to express our deep concern about
           remove Professor Cemal Kafadar and Associate Professor Rosie
           Bsheer as, respectively, director and associate director of the
                                                                      We regard
                             in this matter as an egregious violation of
           longstanding and widely accepted norms of faculty governance as
           well as the principles of academic freedom.

           MESA was founded in 1966 to promote scholarship and teaching
           on the Middle East and North Africa. The preeminent organization
           in the field, the Association publishes the prestigious International
           Journal of Middle East Studies and has nearly 2,800 members
           worldwide. MESA is committed to ensuring academic freedom
           and freedom of expression both within the region and in
           connection with the study of the region in North America and
           outside of North America.

           Professor Kafadar was appointed CMES director for a three-year
           term starting 1 July 2022; because he was on leave for the 2024-
           2025 academic year, he was expected to resume his duties on 1
           July 2025 for his third and final year as CMES director. As
           director, Professor Kafadar worked with CMES-affiliated faculty
           to organize and co-sponsor geographically and thematically
           diverse public programming, including the spring 2025 speaker
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                                             nched this series on 19 February



           On 10 March 2025 Interim Social Sciences Dean David Cutler
           requested a Zoom meeting with Professor Kafadar; the meeting
           took place on 13 March 2025. Professor Kafadar met with Dean
           Cutler for a second time on 24 March 2025. At these meetings
           Dean Cutler told Professor Kafadar that Harvard affiliates had
           complained about the alleged lack of balance and presentation of
           multiple viewpoints in the 19 February 2025 event on Lebanon. As
           we understand it, the individuals who complained about this event
           did not actually attend it. Professor Kafadar explained to Dean
           Cutler that, as CMES director, he did not interfere with
           programming decisions made by the faculty members who
           oversaw the various speaker series sponsored by the center. We
           note that, in recent years, no Harvard administration official had
           contacted center leadership to express concerns about its
           programming.

           At 1 p.m. on 25 March 2025, Professor Kafadar was informed that
           he was no longer CMES director. On 26 March 2025, Associate
           Director Rosie Bsheer was summoned to meet with Dean Cutler;
           two days later she, too, was dismissed from her position. The
           alleged lack of balance in CMES-sponsored events relating to
           Palestine was cited as the reason for both dismissals.

           We note that on 25 March 2025, approximately two hours after
           Professor Kafadar was dismissed, Dean Hoekstra sent all Harvard
           center directors a message informing them that the university was
           adopting a policy requiring that all centers include diverse
           viewpoints in their programming and that their leaders be prepared
           to explain how they intended to accomplish this during a
           mandatory meeting with their respective divisional deans in the
           coming weeks.

           We regard the dismissals of Professors Kafadar and Bsheer as a
           violation of the norms of university governance and of due
           process. They constitute unwarranted and unjustifiable political
           interference by university officials in a domain that should rightly
           fall within the purview of the scholars affiliated with CMES.

           In these fraught times, college and university leaders have a
           heightened responsibility to protect the freedom of speech and
           academic freedom of all members of their communities. As
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                                                     statement dated 18
           December 2023:                              leaders and
           administrations to affirmatively assert and protect the rights to
           academic freedom and freedom of speech on their campuses.
           statement went on to quote from an earlier Board statement
           reaffirm that there can be no compromise of the right and ability of
           students, faculty, and staff at universities across North America
           (and elsewhere) to express their viewpoints free of harassment,


           In yet another statement
           called on colleges and universities to resist demands and pressures
           by the government and by organized efforts to silence scholarly

           national climate, as institutions of higher education and their
           mission of critical inquiry face unprecedented attack, MESA
           unequivocally supports efforts to stand up for freedom of
           expression, academic freedom, and institutional autonomy. Rather
           than facilitating or acting in the interests of government repression,
           we must all take a collective stance to defend higher education in



           Kafadar and Bsheer violates its own avowed commitment to
           freedom of speech and academic freedom, as defined in the
           University-Wide Statement of Rights and Responsibilities.
           Ironically, even as Professors Kafadar and Bsheer were being
           removed from their positions at CMES, apparently to placate those
           who disagreed with some of the perspectives expressed in its
           programming, a statement bearing the signatures of more than 600
           Harvard faculty members was released that called on the university



           We therefore call on Harvard University to immediately rescind
           the removal of the current leadership of CMES. We further call on

           commitment to respect and defend the principles of academic
           freedom and freedom of speech for all members of the Harvard
           community, and to reject governmental and political pressures to
           suppress scholarly engagement with, and open discussion of, the
           Israeli-Palestinian conflict.

           We look forward to your response.
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           Sincerely,




           MESA President
           Professor, Yale Law School




           Laurie A. Brand
           Chair, Committee on Academic Freedom
           Professor Emerita, University of Southern California
